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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION,

                                                                   POST-TRIAL
                             Plaintiff,
                                                                 INSTRUCTIONS
         v.

  WAL-MART STORES, INC. and
                                                                   17-cv-739-jdp
  WAL-MART STORES EAST, L.P.,

                             Defendants.


      Members of the jury:

      Now that you have heard the evidence, I will take about 15 minutes to give you

the instructions that will govern your deliberations in the jury room. It is my job to decide

what rules of law apply to the case and to explain those rules to you.

      You have two duties as a jury. Your first duty is to decide the facts from the

evidence in the case. This is your job, and yours alone.

      Your second duty is to apply the law that I give you to the facts. You must follow

these instructions, even if you disagree with them. Each of the instructions is important,

and you must follow all of them.

      Perform these duties fairly and impartially. Do not allow sympathy, prejudice, fear,

or public opinion to influence you.

      The verdict must represent the considered judgment of each juror. Your verdict,

whether for or against any party, must be unanimous. You should make every reasonable

effort to reach a verdict. In doing so, you should consult with one another, express your
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own views, and listen to the opinions of your fellow jurors. Discuss your differences with

an open mind. Do not hesitate to reexamine your own views and change your opinion if

you come to believe it is wrong. But you should not surrender your honest beliefs about

the weight or effect of evidence solely because of the opinions of other jurors or for the

purpose of returning a unanimous verdict. All of you should give fair and equal

consideration to all the evidence and deliberate with the goal of reaching an agreement

that is consistent with the individual judgment of each juror. You are impartial judges of

the facts.

       Your deliberations will be secret. You will never have to explain your verdict to

anyone.

       During this trial, I have asked questions of witnesses. Do not assume that because

I asked questions I hold any opinion on the matters I asked about, or on what the

outcome of the case should be. If you have formed any idea that I have an opinion about

how the case should be decided, disregard that idea. It is your job, not mine, to decide

the facts of this case.

       The case will be submitted to you on a special verdict form consisting of five

questions. In answering the questions, you should consider only the evidence that has

been received at this trial. Do not concern yourselves with whether your answers will be

favorable to one side or another, or with what the final result of this lawsuit may be.




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Considering the evidence

         All parties are equal before the law. Plaintiff EEOC is a government agency and

defendant Walmart is a corporation. Government agencies and corporations are entitled

to the same fair consideration that you would give any individual person.

         Note also that it is proper for a lawyer to meet with any witness in preparation for

trial.

         You must base your verdict on the evidence presented in the courtroom. But you

should use common sense in weighing the evidence and consider the evidence in light of

your own observations in life.

         You will recall that during the course of this trial I instructed you that I admitted

certain evidence for a limited purpose. You must consider this evidence only for the

limited purpose for which it was admitted.

         The law does not require any party to call as a witness every person who might

have knowledge of facts related to this trial. Similarly, the law does not require any party

to present as exhibits all papers and things mentioned during this trial.

         You may find the testimony of one witness or a few witnesses more persuasive than

the testimony of a larger number. You need not accept the testimony of the larger number

of witnesses.

         If, after you have discussed the testimony and all other evidence that bears upon

a particular question, you find that the evidence is so uncertain or inadequate that you

have to guess what the answer should be, then the party with the burden of proof as to

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that question has not met the required burden of proof. Your answers are not to be based

on guesswork or speculation. They are to be based upon credible evidence from which

you can find the existence of the facts that the party must prove to satisfy the burden of

proof on the question under consideration.



 Burden of proof

        When I say a particular party must prove something by “a preponderance of the

 evidence,” it means that when you have considered all the evidence in the case, you

 must be persuaded that it is more probably true than not true.




                               SHOW VERDICT FORM

                              LIABILITY INSTRUCTIONS

General

      The EEOC has brought this lawsuit under a federal law called the Americans with

Disabilities Act, which is often referred to by its initials, “ADA.” Under the ADA, it is

illegal for an employer to discriminate against a person with a disability if that person is

qualified to do the essential functions of his job and the employer is aware of his

limitations.

      In this case, the EEOC claims that Walmart violated the ADA by not

accommodating Paul Reina’s disability by allowing a continuing, full-time job coach and

by ending Reina’s work for Walmart because he had a disability. Walmart denies that it


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violated the ADA. Walmart contends that Reina is not a qualified individual under the

ADA; that a full-time job coach who performs any of the essential functions of Reina’s

job is not a reasonable accommodation under the ADA; and that it did not end Reina’s

employment because he has a disability.

      You should not concern yourselves with whether Walmart’s actions were wise,

reasonable, or fair. Rather, your concern is only whether the EEOC has proved that

Walmart violated the ADA.

      You have heard evidence about whether Walmart’s actions complied with its

internal policies and training. You may consider this evidence in your deliberations. But

remember that the issue is whether Walmart violated Reina’s rights under the Americans

with Disabilities Act, not whether Walmart’s actions violated its internal policies or were

inconsistent with its training courses.

      As you listen to these instructions, please keep in mind that many of the terms I

will use have a special meaning under the law. So please remember to consider the specific

definitions I give you, rather than using your own opinion as to what these terms mean.




Question 1: Reasonable Accommodation

      Under the ADA, an employer must, if requested, provide a reasonable

accommodation to a worker with a disability. To succeed on its reasonable

accommodation claim against Walmart, the EEOC must prove three things, which we

call “elements,” by a preponderance of the evidence:

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      1. Paul Reina was qualified to perform the job;

      2. Walmart was aware that Reina needed an accommodation; and

      3. Walmart failed to provide Reina with a reasonable accommodation.

There are some special definitions that you should use in considering whether the EEOC

has proven these three elements.

      Definition of “Qualified”

      Under the ADA, Reina was “qualified” if he had the skill, experience, education,

and other requirements for the job and could do the job’s essential functions, either with

or without a reasonable accommodation. You should consider Reina’s abilities at the time

Reina last worked for Walmart, which was in June 2015.

      An employer may have general requirements for all employees as well as specific

requirements for a particular job.

      Not all job functions are “essential.” Essential functions are a job’s fundamental

duties. In deciding whether a function is essential, you may consider a number of factors,

including: the reasons the job exists; the number of employees Walmart has to do that

kind of work; the degree of specialization the job requires; Walmart’s judgment about

what is required; and the consequences of not requiring an employee to satisfy that

function. You may consider the amount of job time spent on a function, but some

functions may be essential even if they do not take a great deal of time.




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      Definition of “Reasonable Accommodation”

      Under the ADA, to “accommodate” a disability is to make some change to the

manner or circumstances under which the job is customarily performed that will let a

person with a disability perform the job. An accommodation is “reasonable” if it would

enable Reina to perform the essential functions of his job and the costs of the

accommodation are not clearly disproportionate to the benefits that it will produce.

      A reasonable accommodation may include changing such things as ordinary work

rules, facilities, conditions, or schedules, or having someone else perform the non-

essential functions of the employee’s job. But it is not a reasonable accommodation to

require the employer to eliminate or change the essential functions of the job, to have

someone else perform the essential functions of the job, or to lower productivity

standards. A job coach would not be a reasonable accommodation if the coach has to

perform any of the essential functions of the job for the employee.

      You may also consider Walmart’s actual work practices with Reina and other cart

attendants in deciding which job functions are essential and whether an accommodation

is reasonable. But Walmart is not required to provide any accommodation that is not a

reasonable accommodation, even if Walmart may have done so in the past.

      Interactive Process

      Once the employer is aware of the employee’s need for an accommodation, the

employer must discuss with the employee, or if necessary with his doctor, whether there




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is a reasonable accommodation that will permit him to perform the job. Both the

employer and the employee must cooperate in this interactive process in good faith.

      You may consider whether a party cooperated in this interactive process in

deciding whether a reasonable accommodation was possible. But this is only one

consideration, and neither party can win this case simply because the other did not

cooperate in this process.

      Undue Hardship Defense

      Under the ADA, Walmart does not need to accommodate Reina if it would cause

an “undue hardship” to its business. An undue hardship is something that is too costly

or so disruptive that it would fundamentally change the nature of Walmart’s business or

how Walmart runs its business.

      To prevail with the undue hardship defense, Walmart must prove to you by a

preponderance of the evidence that Reina’s proposed accommodation would be an undue

hardship. In deciding this issue, you should consider the following factors:

      1. The nature and cost of the accommodation;

      2. Walmart’s overall financial resources. This might include the size of its business,

the number of people it employs, and the types of facilities it runs;

      3. The financial resources of the facility where the accommodation would be made.

This might include the number of people who work there and the impact that the

accommodation would have on its operations and costs; and




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      4. The way that Walmart conducts its operations. This might include its workforce

structure; the location of its facility where the accommodation would be made compared

to Walmart’s other facilities; and the relationship between these facilities.




Question 2: Discriminatory Termination

      To succeed on its claim for discriminatory termination, the EEOC must prove three

elements by a preponderance of the evidence:

      1. Reina was qualified to perform the job;

      2. Walmart ended Reina’s work at Walmart;

      3. Defendant would not have ended Reina’s work if Reina had not had a disability,

but everything else had been the same.




                              DAMAGES INSTRUCTIONS

General

        If you decided for defendant Walmart on both questions of liability (that is, if

 you answered “no” to both Question 1 and Question 2), then you should not consider

 the question of damages.

        If you decide for plaintiff EEOC on either question of liability (that is, if you

 answer “yes” to either Question 1 or Question 2), then you must determine what

 amount of damages, if any, that Reina is entitled to recover. EEOC must prove damages

 by a preponderance of the evidence.

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      Your verdict must not be based on guesswork. But EEOC need not prove the

amount of damages with mathematical precision. In determining the amount of damages,

you must base your answer on evidence that reasonably supports your determination of

damages under all of the circumstances of the case. You should award as damages the

amount of money that you find fairly and reasonably compensates Reina for his injuries.

      Do not measure damages by what the parties ask for in their arguments. Their

opinions as to what damages should be awarded should not influence you unless their

opinions are supported by the evidence. It is your job to determine the amount of the

damages sustained from the evidence you have seen and heard. Examine that evidence

carefully and impartially. Do not add to the damage award or subtract anything from it

because of sympathy to one side or because of hostility to one side. Do not make any

deductions because of a doubt in your minds about the liability of any of the parties.




Question 3: Compensatory damages

      If you find in favor of EEOC on one of the liability questions, then you must

determine the amount of money that will fairly compensate Paul Reina for any injury

that you find he sustained, or is reasonably certain to sustain in the future, as a direct

result of Walmart’s conduct.

      The EEOC must prove damages by a preponderance of the evidence. Your award

must be based on evidence and not speculation. This does not mean, however, that




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compensatory damages are restricted to the actual loss of money; they include both the

physical and mental aspects of the injury, even if they are not easy to measure.

      You should consider the following types of compensatory damages, and no others:

The physical, mental, and emotional pain and suffering that Reina has experienced or is

reasonably certain to experience in the future. No evidence of the dollar value of these

injuries has been or needs to be introduced. There is no exact standard for setting the

damages to be awarded on account of these factors. You are to determine an amount that

will fairly compensate Reina for the injury he sustained.

      You should not consider the issue of lost wages and benefits because the court will

calculate and determine any damages for past or future lost wages and benefits.




Questions 4 and 5: Punitive damages

      If you find for the EEOC, you may, but are not required to, assess punitive damages

against Walmart. The purposes of punitive damages are to punish a defendant for its

conduct and to serve as a warning to the defendant and to others not to engage in similar

conduct in the future.

      You may assess punitive damages only if the EEOC has proven that Walmart’s

conduct was malicious or in reckless disregard of Reina’s rights. Conduct is malicious if

it is accompanied by ill will or spite, or is done for the purpose of injuring Reina. Conduct

is in reckless disregard of Reina’s rights if, under the circumstances, Walmart simply did

not care about Reina’s rights.

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      If you find that punitive damages are appropriate, then you must use sound reason

in setting the amount of those damages. Punitive damages, if any, should be in an amount

sufficient to fulfill the purposes that I have described to you, but should not reflect bias,

prejudice, or sympathy toward any party. In determining the amount of any punitive

damages, you should consider the following factors:

      •      the reprehensibility of Walmart’s conduct;

      •      the impact of Walmart’s conduct on Reina;

      •      the relationship between Reina and Walmart;

      •      the likelihood that Walmart would repeat the conduct if an award of
             punitive damages is not made;

      •      the relationship of any award of punitive damages to the amount of actual
             harm Reina suffered.



Taxes and Benefits

      Do not consider the effect of taxes, if any. Also do not consider the possible

effect of any award on the government benefits that Reina may receive.




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                 INSTRUCTIONS AFTER CLOSING ARGUMENTS

       I have just a couple of final instructions about conducting deliberations.

       When you go to the jury room to begin considering the evidence in this case you

should first select one of the members of the jury to act as your presiding juror. This

person will help to guide your discussions in the jury room.

       You are free to deliberate in any way you decide, or select whomever you like as

the presiding juror. When thinking about who should be presiding juror, you may want

to consider the role that a presiding juror usually plays. He or she serves as the

chairperson during the deliberations and has the responsibility of ensuring that all

jurors who desire to speak have a chance to do so before any vote. The presiding juror

should guide the discussion and encourage all jurors to participate. I encourage you at

all times to keep an open mind if you ever disagree or come to conclusions that are

different from those of your fellow jurors. Listening carefully and thinking about the

other juror’s point of view may help you understand that juror’s position better or give

you a better way to explain why you think your position is correct.

       You should use my instructions to the jury as a guide to determine whether there

is sufficient evidence to prove all the necessary legal elements for each claim or defense.

I also suggest that any formal votes on a verdict be delayed until everyone can have a

chance to say what they think without worrying what others on the panel might think

of their opinion.
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      Once you are in the jury room, if you need to communicate with me, the

presiding juror will send a written message to me. However, do not tell me how you

stand as to your verdict.

      As I have mentioned before, the decision you reach must be unanimous; you

must all agree.




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